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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

TINA R. ALIEN, also known as TINA SEALS,
                             Plaintiff,
                                                             20-CV-10943 (CM)
                    -against-
                                                             ORDER OF DISMISSAL
DEPARTMENT OF HOMELAND                                       UNDER 28 U.S.C. § 1651
SECURITY, ET AL.,
                             Defendants.

COLLEEN McMAHON, Chief United States District Judge:

       On October 1, 2014, Judge Loretta A. Preska barred Plaintiff from filing any new civil

action in this Court in forma pauperis (“IFP”) without first obtaining from the Court leave to file.

See Seals v. McClurkin, No. 1:14-CV-6080, 7 (S.D.N.Y. Oct. 1, 2014). Plaintiff files this new

action pro se without prepaying the filing fee or seeking leave to file the action. The action is

dismissed without prejudice for Plaintiff’s failure to comply with the October 1, 2014 order. 1

                                           CONCLUSION

       The Court dismisses this action without prejudice. Plaintiff has neither provided an

address for service of the order nor consented to electronic service. The Court certifies, pursuant

to 28 U.S.C. § 1915(a)(3), that any appeal from this order would not be taken in good faith and

therefore IFP status is denied for the purpose of an appeal. See Coppedge v. United States, 369

U.S. 438, 444-45 (1962).

 Dated:    December 29, 2020
           New York, New York

                                                            COLLEEN McMAHON
                                                        Chief United States District Judge



       1
        Even if Plaintiff had sought leave to file this action, the application is not a departure
from Plaintiff’s pattern of frivolous litigation.
